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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

RALEIGH DIVISION
IN RE:
. CHAPTER 7
LISA GAIL SKUMPIJA, CASE NO. 11-00338-8-SWH

DEBTOR

DAVID M. WARREN, Trustee in
Bankruptcy for Lisa Gail Skumpija,

 

 

PLAINTIFF, ADVERSARY PROCEEDING N().
vs.
JANET ABREU and
KATHIE L. RUSSELL, TRUSTEE,
DEFENDANTS.
COMPLAINT

Now comes David M. Warren (“Plaintift”), Chapter 7 trustee in bankruptcy for Lisa Gail
Skimpija (“Debtor”), by and through counsel, and complains of Janet Abreu and Kathie L.
Russell (“Defendants”) by alleging and saying as follows:

l. This matter is a core proceeding pursuant to 28 U.S.C. §157, and the court has
jurisdiction pursuant to 28 U.S.C. §§151, 157, and 1334. The court has the authority to hear this
matter pursuant to the General Order of Reference entered August 3, 1984 by the United States
District Court for the Eastem District of North Carolina.

2. The Debtor filed a Chapter 7 bankruptcy petition on January 14, 2011 (“Petition
Date”). Plaintiffwas appointed to fulfill the duties and obligations provided in ll U.S.C. §704.

3. Upon information and belief, Janet Abreu (“Abreu”) is a citizen and resident of
Chatham County, North Carolina.

4. Upon information and belief, Abreu is the Debtor’s mother and is an insider as

described in 11U.s.C. §101(31).

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5. Upon information and belief, Kathie L. Russell is the Trustee under a Deed of
Trust in favor of Abreu and is subject to service of process pursuant to Rule 7004(b) of the
Federal Rules of Bankruptcy Procedure anywhere in the United States. Kathie L. Russell is
named as a defendant in her capacity as Trustee under the Deed of Trust described herein.

FIRST CAUSE oF ACTIoN
(11 U.s.C. § 548)

6. The allegations contained in paragraphs 1 through 5, inclusive, are incorporated
herein by reference

7. The Debtor acquired an interest in real property and improvements identified as
575 Chapel Ridge Drive, Pittsboro, North Carolina (“Chapel Ridge Property”) as more
particularly described by Deed (“Deed”) recorded on June 10, 2008 in Book 1408, Page 670 of
the Chatham County Registry. A copy of the Deed is attached as Exhibit A and incorporated
herein by reference

8. The Debtor executed a Promissory Note on June 12, 2008 in the amount of Five
Hundred Thousand and no/ 100 Dollars payable to Defendant to secure the purchase of the
Chapel Ridge Property and 151 Hanields Drive, Pittsboro, North Carolina (“Hawfields
Property”). Two Hundred Thousand and no/ 100 Dollars ($200,000.00) Was allocated to the
purchase of the Chapel Ridge Property and Three Hundred Thousand and no/ 100 Dollars
($300,000.00) Was allocated to the Hawsfield Property. A copy of the Promissory Note is
attached as Exhibit B and incorporated herein by reference

9. On or about September 16, 2009, the Debtor transferred to the Defendants by way
of a Deed of Trust (“Chapel Ridge Deed of Trust”) recorded in Book 1480, Page 962 of the
Chatham County Registry, a security interest in the Chapel Ridge Property. A copy of the
Chapel Ridge Deed of Trust is attached as Exhibit C and incorporated herein by reference

10. The transfer (“Transfer”) of the security interest in the Chapel Ridge Property as

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set forth in paragraph 9 above constitutes a fraudulent conveyance of property of the Debtor and
is avoidable pursuant to 11 U.S.C. §548 for the benefit of the Debtor’s bankruptcy estate

sECoND CAUSE oF ACTIoN
(11 U.S.C. §§ 550 and 551)

11. The allegations contained in paragraphs 1 through 10, inclusive, are incorporated
herein by reference
12. To the extent that the Transfer made from the Debtor to the Defendants is
avoidable, the Plaintiff is entitled to avoid that Transfer or the value thereof for the benefit of the
Debtor’s bankruptcy estate pursuant to 11 USC §5 5 0.
13. The Plaintiff is entitled to recover the Transfer for the benefit of the creditors and
the bankruptcy estate pursuant to 11 USC §550.
Wherefore, Plaintiff prays for the court to grant the following relief:
1. To avoid the Transfer of the Chapel Ridge Deed of Trust by the Debtor to the
Defendants pursuant to 11 U.S.C. §548;
2. To preserve any benefit from the recovery under 11 USC §548 for the benefit of
the estate pursuant to 11 USC § 550;
3. To preserve any benefit from the recovery under 11 USC §548 for the benefit of
the estate pursuant to 11 USC § 551; and
4. To grant such other and further relief as the court deems just and appropriate
Dated: February 25 , 2011. POYNER SPRUILL LLP
By: /s/ David M. Warren
N.C. State Bar No. 12581
Attomeys for Trustee
Post Office Box 1801
Raleigh, NC 27602-1801

Telephone: (919) 783-6400
Facsimile: (919) 783-1075

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CHATHAM COUNTY NC
TREVA B. SEAGROVES

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AT 02:44;15 pm

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ExcisE TA)< (N<>ne)

NORTH CAROL]NA GENERAL WARRANTY DEED

Excise Tax:

 

Prepared by JENNIFER S. ANDREWS, ESQ. Post Office Box 250, Siler City, North Carolina 27344

A&B NO 0PINION ON TITLE REQUESTED OR GIVEN
Retum to: Grantee

THIS DEED made this loi& day of June, 2008, by and between

GRANTOR:
JED SCHIPPER (unmarried)
and
GRANTEE:
LISA SKUMPIJA (married)
2068 Otis Johnson Road

Pittsboro, North Carolina 27312

The designation Grantor and Grantee as used herein shall include said parties, their heirs, successors, and assigns,
and shall include singular, plural, masculine, feminine or neuter as required by context.

WI'I'NESSETH, that the Grantor, for a valuable consideration paid by the Grantee, the receipt of which is
hereby acknowledged has and by these presents does grant, bargain, sell and convey unto the Grantee in fee simple,

that certain lot or parcel of land situated in Hadley Township, Chatham County, North Carolina and more particularly
described as follows:

ALL OF LOT NUMBERED 52B, as shown on the plat entitled “Plat ofSubdivision ‘Chapel Ridge ’
- Phase One”, including a Project Sheet, Sheets One through Three and a Dimension Table, dated July
7, 2004, by Absolute Land Surveying and Mapping, P.C., recorded at Plat Slides 2004-221 through
2004-225, Chatham County Registry (the “Plat”); together with all appurtenant rights and privileges

 

 

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in the common areas and roads, including the right of ingress and egress along the private roads, as
shown on the Plat and all other recorded plats for Chapel Ridge, and described in the Declaration of
Covenants, Conditions and Restrictions for Chapel Ridge recorded in Book 1116, Page 715, Chatham
County Registry, as amended

The property hereinabove described was acquired by Grantors by a instrument recorded in: Book 1188, Page
996, Chatham County Registry,

TO HAVE AND TO HOLD the aforesaid lot or parcel of land and all privileges and appurtenances thereto
belonging to the Grantee in fee simple.
And the Grantor covenants with the Grantee, that Grantor is seized of the premises in fee simple, has the right

to convey the same in fee simple, that title is marketable and free and clear of all encumbrances, and that Grantor will
warrant and defend the title against the lawful claims of all persons whomsoever except for the exceptions hereinafter
stated. Title to the property hereinabove described is subject to the following exceptions:

l. Easements, Rights-of-Way, Restrictions and Encumbrances of record.

IN WI'I`NESS WI-IEREOF, the Grantor has hereunto set his hand and seal, the day and year first above written.

  
    
 

 

 

 

ANA MAR|A SANCHEZ
COmmlss|on # 1495508
Notary Public - Ca|ltomla (SEAL)
JE _ IPPER
srArE oF ` \‘ ` v
SEAL-STAMP COUNTY OF
l, l ,a Notary Public of the County and State aforesaid

do hereby certify that JED SCHIPPER, Grantor, personally appeared before me this day
and acknowledged the due execution of the foregoing instrument for the purposes therein
expressed

Witness my hand and official stamp or seal. this \Q“\ day of June, 2008,

My commission expires:\ 1132 \&, ;OOO
’L/W / l '

. Notary Public

 

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STATE OF NORTH CAROLINA
C()UNTY OF CHATHAM
PROMISSORV NOTE
$500,000

June 12, 2008

l~`OR VALUE KECEIVED, Lisa Skumpija (“Maker”) promises to pay to the order of Janet
Abreu (“Payee”) at 2068 Otis Johnson. Plttsboro, NC_. 27312 or such other address as Payee may direct in
writing, the principal sum of five hundred thousand dollars ($500,000).

Principal on this Note is due and payable as follows:

$200.000 upon the sale and close ofthe house nn 575 Chapel Ridge Drive, Pittsboro, ,NC 27312
$300,000 upon the sale and close of the house on 151 Hawfields Drive, Pittsboro, NC 27312

Maker hereof shall have the right to prepay this Note in whole or in part at any time
without penalty_

This Note is given to secure the purchase of real properly located at 5 75 Chapel Ridge Drive,
Pittsboro, NC 27312 and is secured\by a Deed of `l`rust.

Maker and each surcty, acceptcr_. endorser, guarantor_. accommodation party, party which has
collateralized this Note with property not owned by Maker or not owned entirely by Malcer, and other
party ever liable for payment of any sums of money payable on this Notc or liable for performance of any
obligations under any of the Sccurity instruments ("othcr liable pariy”), jointly and severally waive
presentment and demand for payment, protest, notice of intention to accelerate this Note, notice of the

acceleration hercon notice of protest and lion-payman as to this Note and as to each and all installments
hereof.

lt is especially agreed that time is of the essence hereof1 and that

{i) if default shall be made in the payment of principal of this Note, as the same becomes due
and payablc; or

(ii) if there is a default by Maker, or any other liable party, in any of the terms. covenants,
agreemcnls, conditions or provisions set forth herein; or

(iii) if Maker or any other liable party becomes insolvent (however such insolvency may bc
evidenccd`) or commits an act of bankruptcy or makes an assignment for the benefit of creditors or

authorizes the filing of a voluntary petition in bankruptcy; or

(iv) v if involuntary bankruptcy proceedings are filed against Maker or any`othcr liable party;

Ol`

(v) if any proceeding_, procedure or remedy supplementary to or in enforcement of judgment
shall be resorted to or commenced against Makcr or any other liable party7 or with respect to any property

of any ofthem; or

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(vi) if any governmental authority or any court at the instance thereof shall take possession of
any substantial pan of the property of or assume control over the affairs, or against any of, the property of
Maker or any other liable party_; then Payee_, at its option, may declare the entirety of this Note,
immediately due and payable, and failure to exercise said option shall not constitute a waiver on the party
of Payee of the right to exercise said option at any other time. Upon the occurrence of a default, as set
forth in (i) through (vi) above, Fayee shall also have the right to exercise any and all other rights,
remedies and recourses now or hereinafter existing in equity, at law_. by virtue of statute or otherwisc,
including1 but not limited to, the right to foreclose and repossess any and all liens and security interests
Securing the payment of this Note.

Maker and, unless otherwise agreed in writing, each other liable party are and shall be directly and
primarily, jointly and severally, liable for the payment of all sums called for hereunder, and Malcer and
each other liable party hereby expressly waive bringing of suit and diligence in taking any action to
collect any sums owing hereon and in the handling of any security, and Maker and each other liable party
hereby consent to and agree, unless otherwise agreed in writing, to remain liable hereon regardless of any
release or Substitution of security herefor, in whole or in part, with or without notice, from time to time,
before or after maturity. Upon a default Payee may proceed against Malcer and each other liable party, to
collect the hill balance hereof, without first resorting to foreclosure of any property securing thc payment
hereof lt shall not be necessary to enforce the obligations of Maker and each other liable party that Payee
has made demand for payment on Makcr or any other liable party or have pursued collection efforts
against Maker or any other liable party.

The invalidity, or unenforceability in particular circumstances of any provision of this Note shall
not extend beyond such provision or such circumstances and no other provision of this instrument shall be

affected thereby

The Note, to the extent of thc full face amount hereof, evidences the indebtedness of Maker to
Payce by virtues of monies loaned to Maker at Maker’s special instance and request

Each Maker, and any other liable party, hereby consents without hrrther notice to any renewals,
extensions, reinstatementsl deferrals or partial payments, either before or alter maturity: and agrees to pay
jointly and severally to Payec an additional reasonable amount as attomeys’ or collection fees if this Note
is placed in the hands of any attorney for eollection, or if it is collected through bankruptcy, probate or

other judicial proceedings

rl‘he terms “Payee” includes any subsequent Payee of this Note and any party who may
subsequently own an interest in this Note.

This Note is assignable by Payee.

THIS NOTE SHALL BE GOVERNED BY AND CONS'I`RUED lN
ACCDRDANCE WI'I`H THE LAWS OF THE STATE OF NORTH CAROLINA AND THE
APPLICABLE LAWS OF THE UNITED STATES OF AMERICA.

 

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NORTH CAROL|NA DEED OF TRUST

This the 1501 day of Sopwmbcr, 2009.

 

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Tl`:llS DEED ofTRUS'I' mld¢ this 15th day ofSep|¢mbnr, 1009, by md bdwm:

 

GRANTOR(S): Lln Skumpijn md husb¢ml, Nehx Slmmpi|n
TRUS‘I`EE: Kathie L. Ruudl, Atturney at Llw

BENEFICIAR¥: Jm¢t Abreu

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pmtiwlm'ly described as follows

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2. TAXES, ASSESSMENTS, CHARGES. Grantor shallpaynll lam montemddmrgceas
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4. PAR,'I'.{AL RELEASE. Grantm‘ shall notbe entitled tn the partial release of any of the above
described propertyrmleasaspecilie provision providing d\erefore is included in this Deed of
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claims of all persons whomsoever, except forthc exceptions hereinafter stated Title to the
inoperty hereinabove described is subject to the following exceptions:

8. SUBSTITU'I`ION OF TR.USTEE. Grantor md Tmstee covenant and monte imde
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